455 F.2d 466
    James X. C. LONG et al., Appellant,v.Mr. Jacob J. PARKER, Warden.James X. C. LONG, Appellant,v.Noah L. ALLDREDGE, Warden, United States Penitentiary,Lewisburg, Pennsylvania.Mr. James X. C. LONG et al., Appellant,v.Mr. John N. MITCHELL, Attorney General, U. S. JusticeDepartment and Noah L. Alldredge, Warden, UnitedStates Penitentiary, Lewisburg, Pennsylvania.
    Nos. 71-1110 to 71-1112.
    United States Court of Appeals,Third Circuit.
    Submitted Jan. 28, 1972.Decided Feb. 7, 1972.
    
      James X. C. Long, pro se.
      S. John Cottone, U. S. Atty.  (Harry A. Nagle, Asst. U. S. Atty., Lewisburg, Pa., on the brief), for appellee.
      Before McLAUGHLIN, HASTIE and VAN DUSEN, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      James C. Long, the only appellant in these appeals, was convicted of first degree murder and robbery on October 30, 1964, in the United States District Court for the District of Columbia.  He was sentenced to life imprisonment.  The factual situation in these appeals has nothing to do with the above mentioned crimes.  Long, who claims to be a Muslim, has repeated various charges he had previously made regarding prison treatment of Muslims, all of which are obviously moot.  The Muslim inmates of Lewisburg Federal Prison (where Long was until he became such a disciplinary problem that he was transferred) are allowed to have regular meetings in the chapel and free copies of the newspaper "Muhammad Speaks."  The prison food menus clearly note all food with pork content.  The Muslims have been offered Holy Quran books costing $1.00 each, the Chaplain is also supplying a minimum quantity of more expensive Quran books.  Religious medals costing one dollar apiece are provided for inmates.  Long insisted on having a medal costing three dollars and fifty cents which was far beyond the budget allowance.  The prison authorities are entirely willing to have Muslim ministers visit the prison and to allow them the same fees and expenses as given the clerics of other faiths but the said ministers so far have refused.  Food accommodation to all inmates' religions is made as much as is possible.  Appellant apparently is quite content to have another go around with the fundamentally same out of date material he has been putting forth this long while.
    
    
      2
      These cases, Civil Nos. 8870 and 9152 and Misc. 732, were tried together on November 26 and 27, 1969.  Almost five months after that and after the trial evidence had been closed Long filed a motion on May 11, 1970 in which he complained of what he alleged were actions by the prison administration as the result of matters allegedly occurring in the Lewisburg Penitentiary on February 1, 1970.  The trial judge rightly construed that motion as an effort to reopen the case by raising entirely new issues and parties.  The trial judge properly denied the said motion.
    
    
      3
      Based upon our own independent judgment we find that these appeals are devoid of merit.  The judgments of the district court will be affirmed.
    
    